                 Case 1:20-cr-00183-RJJ ECF No. 728, PageID.9039 Filed 08/23/22 Page 1 of 1

                           UNITED STATES DISTRICT COURT - WESTERN DISTRICT OF MICHIGAN
                                            CRIMINAL MINUTE SHEET
USA v.       Adam Dean Fox & Barry Gordon Croft, Jr.                                  DISTRICT JUDGE:         Robert J. Jonker

  CASE NUMBER                        DATE               TIME (begin/end)              PLACE                   INTERPRETER
     1:20-cr-183                     8/23/22         8:29 - 8:35 a.m.; 11:34 -     Grand Rapids
                                                     11:48 a.m.



                                                            APPEARANCES
Government:                                            Defendant:                                       Counsel Designation:
Nils Kessler / Chris O'Connor

             TYPE OF HEARING                                DOCUMENTS                                  CHANGE OF PLEA
   Arraignment:                                    Defendant's Rights                    Charging Document:
       mute             nolo contendre                                                         Read         Reading Waived
                                                   Waiver of Indictment
       not guilty       guilty                                                           Guilty Plea to Count(s)
                                                   Other:
   Final Pretrial Conference                                                             of the
   Detention         (waived     )
                                                                                         Count(s) to be dismissed at sentencing:
   Motion Hearing
   Revocation/SRV/PV                           Court to Issue:

   Bond Violation                                  Order of Detention                          Presentence Report Ordered
   Change of Plea
                                               ✔   Notice of Sentencing                        Presentence Report Waived
                                                   Order Appointing Counsel                    Plea Accepted by the Court
   Sentencing
   Trial                                           Other:                                      Plea Taken under Advisement
   Other:                                                                                      No Written Plea Agreement

                                                             SENTENCING

Imprisonment:                                                        Plea Agreement Accepted:         Yes     No

Probation:                                                           Defendant informed of right to appeal:        Yes    No
Supervised Release:                                                  Counsel informed of obligation to file appeal:      Yes     No

Fine: $                                                              Conviction Information:
Restitution: $                                                           Date:
                                                                         By:
Special Assessment: $
                                                                         As to Count (s):

ADDITIONAL INFORMATION:
Jury trial, day 11. Defendants found guilty per Verdict Forms.

Defense counsel: Chris Gibbons/Karen Boer (Fox) / Josh Blanchard (Croft)


                    CUSTODY/RELEASE STATUS                                             BOND AMOUNT AND TYPE

Remanded to USM                                                         $

CASE TO BE:                                                          TYPE OF HEARING:

Reporter/Recorder:         Paul Brandell                             Case Manager:         S. Bourque
